                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


     ANTHONY DALE, BRETT JACKSON,
     JOHNNA FOX, BENJAMIN
     BORROWMAN, ANN LAMBERT,                          Case No. 1:22-cv-03189
     ROBERT ANDERSON, and CHAD
     HOHENBERY on behalf of themselves and            Hon. Thomas M. Durkin
     all others similarly situated,
                                                      Hon. Jeffrey Cole
                       Plaintiffs,

                 v.                                   JOINT STATUS REPORT

     DEUTSCHE TELEKOM AG, and T-
     MOBILE US, INC.,

                       Defendants.



         Pursuant to this Court’s November 29, 2023, Minute Entry (ECF No. 123), Plaintiffs and

Defendant T-Mobile US, Inc. (“T-Mobile” and, together, “the parties”) respectfully submit this

Joint Status Report.

I.       Requests for Production

         On November 13, 2023, Plaintiffs served their first set of requests for production on T-

Mobile. Per the parties’ agreement, T-Mobile responded on January 10, 2024. The parties

continue to meet and confer productively on discovery. They have agreed to accept service of

discovery papers and responses via email. The parties have also agreed that by June 13, 2024

they will set a further deadline for substantial completion of document discovery by T-Mobile.

         On November 17, 2023, Plaintiffs served requests for production on AT&T, Inc.

(“AT&T”), Verizon Communications Inc. (“Verizon”), and DISH Network Corporation

(“DISH”). Plaintiffs and these non-parties agreed that AT&T and Verizon will respond by



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January 31, 2024, and DISH will respond by February 2, 2024. On January 22, 2024, T-Mobile

served its first set of requests for production and interrogatories on Plaintiffs. Plaintiffs’

responses to those discovery requests are due on February 21, 2024.

II.      Initial Disclosures

         On December 18, 2023, the parties exchanged initial disclosures. Each party identified

individuals likely to have discoverable information and documents in their possession that they

may use to support their claims/defenses. Each party has agreed to supplement their disclosures

as additional information becomes available to them.

III.     Deposition Transcripts and Trial Exhibits from Prior Litigation

         Plaintiffs’ request for production to T-Mobile seeks materials from the pre-merger

litigation, State of New York v. Deutsche Telekom AG, No. 19-cv-05434 (S.D.N.Y.), some of

which contain confidential information of non-parties. On December 21, 2023, T-Mobile sent a

notice to those non-parties—Altice USA, Inc. (“Altice”), AT&T, Comcast Corp., Deutsche

Telekom AG, DISH, Google LLC, SoftBank Group Corp., Verizon, and the plaintiff States in

that case—pursuant to the Protective Order in that litigation. The notice advised the non-parties

that Plaintiffs would move to compel production of these materials on January 17, 2024. T-

Mobile does not intend to take a position on this dispute, and has agreed to produce all T-Mobile

transcripts and the exhibits used in them that it or Sprint had produced in that case once the

motion is resolved or all parties have consented. Altice, AT&T, Comcast, and the plaintiff States

have informed the parties that they also do not intend to oppose Plaintiffs’ motion to compel.1

To allow the other non-parties time to respond, non-parties will be able to file any oppositions by

February 1, 2024, with any replies due on February 8, 2024. See Notification of Docket Entry


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  AT&T informed the parties that if any other non-party files an opposition implicating issues other than relevance it
reserves the right to join that opposition.

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(Jan. 25, 2024), ECF No. 152. All relevant non-parties have been advised of these deadlines.

IV.    Limits on Discovery

       The parties continue to meet and confer about discovery limits. They agree that the

standard number of twenty-five interrogatories are sufficient. The parties also agree that each of

the parties may take ninety total depositions. Of the ninety total, the parties agree that the limit

on depositions of T-Mobile employees will be no more than thirty, absent a showing of good

cause; the parties will negotiate a precise limit in good faith as discovery progresses. The parties

also agree to limit 30(b)(6) depositions of T-Mobile and Plaintiffs to fourteen hours total per

side, excluding depositions solely for the purpose of document authentication. The parties agree

that the 30(b)(6) depositions will count towards the 90-deposition limit each side faces, that the

initial 7 hours of testimony will count as one deposition, and that the second up to 7 hours of

testimony will count as one deposition.

V.     Third Party Subpoena Responses

       Any party that serves a subpoena upon a third party shall provide notice to other parties

consistent with Federal Rule of Civil Procedure 45(a)(4). The Parties agree that any party that

receives documents, responses, and/or objections from a third party in connection with a

subpoena will provide those documents, responses, and/or objections to the other parties within

three business days of receiving the documents, responses and/or objections.

VI.    Status Conferences

       Plaintiffs also respectfully suggest that this Court order a status conference every sixty

days to ensure the efficient resolution of this action and adherence to the proposed case schedule.

Seven days prior to each status conference, the parties will file a joint status report on the

progress of discovery and any other pertinent matters. Defendant T-Mobile believes this



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proposal is premature and that it encourages the parties to present disputes to the Court, rather

than to seek resolution without Court intervention.

VII.   Case Schedule Dispute

       The parties agree on a single fact discovery period for all issues relating to class

certification and merits. However, after meeting and conferring, the parties have reached an

impasse on how to phase expert discovery, expert depositions, class certification, summary

judgment, and Daubert briefing.

       A.      Plaintiffs’ Proposal

       The Schedule Should Have One Expert Discovery Period. Plaintiffs propose, following

the close of all fact discovery, a single expert discovery period and exchange of expert reports

for all issues, including both class certification and merits. A single round of briefing on class

certification and any Daubert challenges, including any Daubert challenges going only to the

merits, would follow. Summary judgment motions, if any, and trial would follow class

certification and any Daubert challenges. Specifically, Plaintiffs propose:

 Date              Deadline
 Nov. 13, 2025     Agreed Close of Fact Discovery
 Dec. 18, 2025     Deadline to Serve Opening Experts Reports on Class and Merits Issues for
                   Which a Party Bears the Burden of Proof
 Mar. 19, 2026     Opposing Expert Reports
 Apr. 23, 2026     Rebuttal Expert Reports
 May 14, 2026      Deadline to Complete Expert Depositions
 May 28, 2026      Class Certification Motions
 May 28, 2026      Daubert Motions on Class and Merits Issues
  July 9, 2026     Class Certification and Daubert Oppositions
 Aug. 6, 2026      Daubert Replies
 Aug. 13, 2026     Class Certification Replies
       Plaintiffs’ counsel have successfully litigated multiple prior complex antitrust cases with

court-approved schedules similar to what Plaintiffs propose here—often with the agreement of

the defendants—including several within the Seventh Circuit. See, e.g., Ex. A, Case Mgmt.


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Order No. 1, Carbone v. Brown Univ., No. 22-cv-00125 (N.D. Ill. Sept. 8, 2022), ECF No. 195;

Ex. B, Order, Uriel Pharm. Health & Welfare Plan v. Advocate Aurora Health, Inc., No. 22-cv-

610 (E.D. Wisc. Aug. 16, 2023), ECF No. 41; Ex. C, Prelim. Pretrial Conference Order, Team

Schierl Cos. v. Aspirus, Inc., No. 22-cv-00580 (W.D. Wisc. Feb. 24, 2023), ECF No. 35.2

        Bifurcation of Expert Discovery Is Inconsistent with Current Antirust Class Certification.

Standards. T-Mobile’s proposed schedule, by comparison, is antiquated (given current class

certification standards), inefficient, inadequate for the parties’ fact discovery needs in this

complex and important case, and unnecessarily duplicative and expensive. T-Mobile proposes

two largely redundant rounds of expert reports and depositions—back-to-back—one for reports

pertaining to class certification, and then another pertaining to the merits. Under current

jurisprudence in antitrust litigation, “class” and “merits” reports are necessarily similar and

largely overlapping. At class certification, Plaintiffs must show that their case as a whole or one

or more of its constituent elements—here, a violation of the antitrust laws (liability), antitrust

injury or antitrust impact (causation), and the quantum of damages—can be proved on a

predominantly classwide basis. See, e.g., Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036,

1045 (2016) (“When one or more of the central issues in the action are common to the class and

can be said to predominate, the action may be considered proper under Rule 23(b)(3).” (internal


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  See also, e.g., Ex. D, Pretrial Order No. 5, In re: Google Digital Advertising Antitrust Litig., 21-md-3010
(S.D.N.Y. Nov. 21, 2022), ECF No. 394; Ex. E, Case Mgmt. Order, In re: Geisinger Health & Evangelical
Community Hosp. Healthcare Workers Antitrust Litig., No. 4:21-cv-00196 (M.D. Pa. Feb. 7, 2022), ECF No. 80;
Ex. F, Stipulated Order Regarding Am. Case Schedule As Modified, Simon and Simon, PC. v. Align Tech., Inc., No.
3:20-cv-03754 (N.D. Cal. May 13, 2021), ECF No. 106; Ex. G, Scheduling Order, Fusion Elite All Stars v. Varsity
Brands, LLC, No. 20-cv-2600 (W.D. Tenn. Oct. 15, 2020), ECF No. 61; Ex. H, Case Mgmt. Order No. 1, In Re:
Broiler Chicken Grower Antitrust Litig., No. 6:17-cv-00033 (E.D. Okla. Apr. 13, 2020), ECF No. 312; Ex. I, Further
Am. Scheduling Order, In re Lipitor Antitrust Litig., No. 3:12-cv-02389 (D.N.J. Oct. 1, 2019), ECF No. 899; Ex. J,
Corrected Seventh Am. Scheduling Order, In re: Niaspan Antitrust Litig., No. 13-MD-2460 (E.D. Pa. Nov. 16,
2018), ECF No. 570; Ex. K, Scheduling Order, In re Dental Supplies Antitrust Litig., No. 16-cv-696 (E.D.N.Y.
April 10, 2017), ECF No. 177; Ex. L, Scheduling Order Regarding Discovery & Briefing on Mot. for Class Certif.,
In re: Domestic Airline Travel Antitrust Litig., MDL No. 2656, 14-MC-01404 (D.D.C. Jan. 30, 2017), ECF No. 152;
Ex. M, Discovery Plan & Scheduling Order at 1, Le v. Zuffa, LLC, No. 2-15-cv-01045 (D. Nev. Oct. 14, 2016), ECF
No. 311.

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quotation marks omitted)); see also Comcast Corp. v. Behrend, 569 U.S. 27, 33-34 (2013) (class

certification analysis in antitrust cases will “frequently entail overlap with the merits of the

plaintiff’s underlying claim,” because the “class determination generally involves considerations

that are enmeshed in the factual and legal issues comprising the plaintiff’s cause of action”

(internal quotation marks and citations omitted)). The best way to show that Plaintiffs’ case can

be established based on classwide proof is to lay out that proof. That is what Plaintiffs’ experts

will do in their class certification reports, the same as they would do in any freestanding merits

reports. Thus, bifurcating expert reports into two separate rounds would be needlessly expensive

and redundant. Or, As Judge Chang recently observed in an antitrust class action:

       In this case, there will likely be substantial overlap between the issues underlying the
       propriety of certification and those underlying the merits of the current Plaintiffs’ claims.
       It would be artificial to divorce the two for purposes of discovery, so splitting them up
       would waste more time than gained and would likely lead to disputes over the proper
       classification of discovery (which in turn would lead to more delay). Yes, if certification
       is denied, then the merits expert discovery would possibly go to waste (the Plaintiffs
       insist they would pursue the case even without certification). But waiting many, many
       months to start merits expert discovery 100% guarantees delay if certification is granted.
       So discovery (including expert discovery) shall cover both certification and the merits of
       the current Plaintiffs’ claims.

Ex. N, Minute Entry, Sky Federal Credit Union v. Fair Isaac Corp., No. 20-cv-2114 (N.D. Ill.

Oct. 17, 2023), ECF No. 180. Like in Fair Isaac, Plaintiffs here intend to pursue the merits of

their case through summary judgment and trial even if class certification is denied; to be sure,

while classwide damages may be unavailable in the absence of class certification, injunctive

relief in an individual suit may well mirror that available to a certified class.

       T-Mobile’s arguments to the contrary do not support its bifurcated approach. First, T-

Mobile claims that the merits issues of liability, causation, and damages are “not at issue” at

class certification. Not so. In reality, Plaintiffs have the burden of identifying common evidence

capable of proving one (and ideally all) of these elements. In re Broiler Chicken Antitrust Litig.,


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No. 16-cv-8637, 2022 WL 1720468, at *7 (N.D. Ill. May 27, 2022) (evaluating “sufficiency [of]

evidence of causation and damages for purposes of class certification”). 3 As this Court knows,

the evidentiary submissions on exactly these points at class certification can be immense. And

other courts have rejected as pointless the task of parsing out which aspects of these issues

qualify as “class” versus “merits” expert discovery, for precisely the same reasons that they

generally avoid bifurcated fact discovery. Ex. N, Minute Entry, Fair Isaac, ECF No. 180

(“splitting [class and merits expert discovery] up would . . . lead to dispute over the proper

classification of discovery” and ordering one round of expert reports on both class and merits).

        Bifurcation of Expert Discovery Would Cause Undue Delay. Although T-Mobile did not

provide a schedule for post-class certification matters, T-Mobile will likely propose a similarly

drawn-out schedule for merits experts, a redundant second round of Daubert briefing relating to

merits expert reports, and another round of expert depositions before summary judgment

briefing. This could add a year or more to the schedule, which is particularly problematic given

T-Mobile’s purported concern that the passage of time makes structural remedies more difficult.

Plaintiffs’ schedule avoids this unnecessary—and, according to T-Mobile, harmful—delay.4

        T-Mobile also argues that until a class or subclass is certified, it is impossible to

determine the boundaries of merits expert discovery. Perhaps there are some class actions where

this might be true, but in antitrust class actions generally, and this antitrust class action in

particular, it is not. As T-Mobile knows, Plaintiffs propose a class of all AT&T and Verizon


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  See also, e.g., Kleen Prods. LLC v. Int’l Paper, 306 F.R.D. 585, 595-96, 601 (N.D. Ill. 2015) (class certification
analysis examines whether “antitrust impact is capable of proof at trial through evidence that is common” and “a
reliable method of measuring classwide damages based on common proof” exists), aff’d, 831 F.3d 919, 929 (7th Cir.
2016) (evaluating “whether the class can point to common proof that will establish antitrust injury”).
4
 T-Mobile’s assertion that its schedule would add only seven months to the case is wrong because it ignores that T-
Mobile is contemplating—but has not yet proposed dates for—a second round of Daubert briefing on merits issues,
which would extend the case far beyond the seven months provided in their current schedule to allow for briefing
and a ruling on that duplicative motion practice.

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customers from the date of the Sprint-T-Mobile merger until the present. If the Court certifies a

class or subclass that is smaller than that defined class then the only consequence is that the

aggregate classwide damages would be reduced commensurate with the reduction in class

members. This is a formulaic calculation that does not require reopening expert discovery.

Indeed, when this Court granted summary judgment in favor of some, but not all, co-conspirators

in Broiler Chicken, trial commenced thereafter without new merits expert reports to account for

the smaller class that would proceed to trial. Minute Entry, In re Broiler Chicken Antitrust Litig.,

No. 16-cv-8637, (N.D. Ill. July 11, 2023), ECF No. 6647 (“the trial will proceed as scheduled”).5

        Bifurcation Will Lead to Inefficiencies and Prejudice Plaintiffs. Still other inefficiencies

and unfairness abound under T-Mobile’s bifurcated approach. Under T-Mobile’s proposal, T-

Mobile’s challenges to Plaintiffs’ expert opinions will be unknown when Plaintiffs file their class

certification motion. This means the Court will receive an opening brief deprived of a robust

accounting of the parties’ dueling contentions. T-Mobile also proposes to get the last word on

class certification issues (despite Plaintiffs bearing the burden of proof) by placing its class

certification Daubert reply after Plaintiffs’ class reply. Under T-Mobile’s proposal, if Plaintiffs

use a common expert at class certification and merits, T-Mobile would doubtless ask that they be

deposed at least twice, possibly more. And T-Mobile’s desire to reserve for the later in the case

opinions about its affirmative defenses does not justify a second duplicative round of merits

reports and a year or more of delay; to the contrary, the common or individual nature of the proof

of those defenses bears directly on class certification. Jones v. BRG Sports, Inc., No. 18-cv-7250,

2019 WL 3554374, at *5 (N.D. Ill. Aug. 1, 2019) (defendant claimed “individualized questions


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  For the same reason, T-Mobile’s objection that merits discovery cannot commence until class opt outs are received
rings hollow. Individual damages claims here will be too small to justify more than a de minimis number of opt outs
pursuing individual litigation. Carnegie v. Household Intern., Inc., 376 F.3d 656, 661 (7th Cir. 2004) (“only a
lunatic or a fanatic sues for $30”).

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related to its affirmative defenses . . . will overwhelm any common questions”).6

           For these reasons, Plaintiffs respectfully submit that the Court should order one round of

expert reports covering class certification and merits issues.

           B.     Defendant T-Mobile’s Proposal

           T-Mobile proposes the following case schedule:

    Day                             Deadline
          June 14, 2024             Deadline to Begin Rolling Productions of Documents Responsive
                                    to First Set of Requests for Production
          June 14, 2024             Deadline to Meet and Confer Regarding Setting Deadline to
                                    Complete Production of T-Mobile’s Production of Structured Data
          Oct. 24, 2024             Deadline to Amend Complaint Without Leave of Court
          Nov. 13, 2025             Close of Fact Discovery
          Dec. 18, 2025             Deadline to Serve Motion for Class Certification and any Expert
                                    Reports in Support of Same
          March 19, 2026            Deadline to Oppose Class Certification, including any Expert
                                    Reports and Daubert Motions
          May 21, 2026              Deadline to Serve Reply in Support of Class Certification Motion,
                                    Rebuttal Expert Reports, Opposition to and Daubert Motions (if
                                    any)
          June 25, 2026             Deadline for Defendant’s Reply in Support of Daubert Motion,
                                    and Opposition Briefs to Plaintiffs’ Daubert Motions, if any
           July 23, 2026            Deadline for Plaintiff Replies in Support of Daubert Motions, if
                                    any
    90 days after a ruling on       Deadline for Merits Expert Reports
       Class Certification
      90 days after Expert          Deadline for Merits Rebuttal Expert Reports
        Reports are due
     45 days after Rebuttal         Close of Expert Discovery
            Reports

           T-Mobile’s proposed schedule provides that Plaintiffs file any expert declarations that they

intend to rely on for class certification with their motions for class certification. Defendants would

similarly file any supporting expert declarations with their class certification oppositions. The



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  If the Court decides to endorse T-Mobile’s two-round approach, Plaintiffs respectfully ask that the Court adopt a
schedule that allows flexibility for Plaintiffs (but does not require them) to move for class certification prior to the
close of fact discovery if Plaintiffs determine it is possible to do so, in order to potentially mitigate the delay
inherent in T-Mobile’s bifurcated approach to expert discovery.

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Rule 26(a)(2) expert disclosures on merits and damages issues would then follow this Court’s

ruling on class certification. T-Mobile believes that its proposed schedule provides the most

orderly and efficient way to manage the case, and ensures that merits reports address the claims

actually before the Court. This approach is consistent with recent scheduling orders in antitrust

class actions nationwide, including in this Court, which similarly have reserved merits expert

discovery until after the completion of the class certification process. See Ex. O, In re Broiler

Chicken Antitrust Litig., No. 1:16-cv-08637 (N.D. Ill. May 13, 2021), ECF Nos. 3788, 4641, 5422,

5685; Ex. P, Ploss v. Kraft Food Grps., No. 1:15-cv-02937 (N.D. Ill. June 26, 2020), ECF Nos.

162, 364; Ex. Q, Deslandes v. McDonald’s USA, LLC, No. 1:17-cv-04857 (N.D. Ill. Jan. 23, 2020),

ECF Nos. 201, 263; Ex. R, Third Amd. Scheduling Order, Kleen Prods. LLC v. Packaging Corp.

of Am., No. 1:10-cv-05711 (N.D. Ill. September 3, 2014), ECF No. 733.

       Plaintiffs’ proposal would have the parties serve their Rule 26 expert reports on the

merits—which will address liability, causation and damages—prior to a ruling by this Court on

class certification. This sequencing is contrary to Rule 23’s instruction that courts must decide

whether to certify an action as a class action “[a]t an early practicable time.” Fed. R. Civ. P.

23(c)(1)(A). Rule 23 and Supreme Court precedent dictate that “[m]erits questions may be

considered . . . only to the extent—that they are relevant to determining whether the Rule 23

prerequisites for class certification are satisfied.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds,

568 U.S. 455, 465–66 (2013) (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350–51 n.6

(2011)); Adv. Comm. 2003 Note on subd. (c)(1) of Fed. Rule Civ. Proc. 23, 28 U.S.C. App., p.

144 (“[A]n evaluation of the probable outcome on the merits is not properly part of the certification

decision.”). The Seventh Circuit is in accord. See Eddlemon v. Bradley Univ., 65 F.4th 335, 341

(7th Cir. 2023) (“At the class certification stage . . . the court must walk a balance between



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evaluating evidence to determine whether a common question exists and predominates, without

weighing that evidence to determine whether the plaintiff class will ultimately prevail on the

merits.” (cleaned up)). Thus, contrary to Plaintiffs’ suggestion, merits questions not related to the

Rule 23 prerequisites are not at issue during class certification and that conclusion supports T-

Mobile’s dual expert disclosure proposal. Moreover, the very case Plaintiffs cite to support their

proposal adopted a schedule that sequenced merits expert disclosures after the Court’s decision on

class certification, as T-Mobile proposes here, see Ex. O, In re Broiler Chicken Antitrust Litig.,

No. 1:16-cv-08637 (N.D. Ill. May 13, 2021), ECF Nos. 3788, 4641, 5422, 5685.

       A sequence such as that proposed by T-Mobile will afford the parties and their experts the

benefit of this Court’s ruling on class certification, including whether any class will be certified,

which claims are at issue, who may be in that class, and whether there are subclasses, prior to

having their experts submit final reports on merits and damages issues—which must necessarily

take into account the final class definition and which invariably will address substantive issues like

evidence that supports T-Mobile’s affirmative defenses, which are not necessarily intertwined in

the question of whether the alleged claims can be litigated on a classwide basis.

       There are several practical reasons for deciding class certification before the parties serve

final expert reports. A class certification decision frames the scope of the class and claims, and

final expert opinions cannot be drafted without knowing who is in (and who is out) of any class—

including whether and how many members decide to opt-out. For instance, an expert cannot

reasonably opine on the existence or quantum of any damages without knowing the size (if any)

of the class or the claims that were allowed to proceed on a classwide basis. If merits reports are

served before class certification, it would lead to the scenario where everyone’s experts are offering

competing damages calculations without relation to the case proceeding to trial. Antitrust cases



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often involve economic questions the court need not wrestle with at the class certification stage.

Similarly, technical expert opinion regarding the telecommunications industry may be critical to

the jury’s understanding of the case, but not relevant to any Rule 23 criteria. How those and other

merits opinions are presented will necessarily depend on the shape of the case after class

certification, and an expert’s role is to assist the jury in interpreting the facts and applying them to

the claims of any class to address issues like liability and damages. See United States v. Navarro,

90 F.3d 1245, 1261 (7th Cir. 1996) (“Under Rule 702, expert testimony may be admitted if the

witness’ expertise is helpful to the jury’s understanding of the case.”). Locking experts into

opinions without clarity on the scope of the class or certified claims would serve only to confuse

the jury, render the expert’s opinions less useful, and waste time. See Fed. R. Evid. 702 Adv.

Comm. Notes (observing that opinions that are unhelpful to the factfinder are “superfluous and a

waste of time”). Further, if the Court denies class certification (as T-Mobile will contend it

should), then the scope of any merits reports will likely be substantially different as well.

       For all the practical reasons above, courts in this district routinely order parties in antitrust

class actions to brief class certification before merits expert reports are due. See, e.g., Ex. S.,

Scheduling Order, Moehrl v. Nat’l Assoc. of Realtors, No. 1:19-cv-01610-ARW (N.D. Ill. Nov. 6,

2020), ECF No. 196 (after setting the expert disclosure schedule for the class certification stage,

noting that the “Court will set a schedule for merits expert discovery . . . at a later date”), ECF No.

362 (“Defendants will have another opportunity to depose Plaintiffs’ experts during merits expert

discovery.”), ECF No. 424; Ex. O, Scheduling Order Nos. 14, 15, 17, 18, In re Broiler Chicken

Antitrust Litig., No. 1:16-cv-08637 (N.D. Ill. May 13, 2021), ECF Nos. 3788, 4641, 5422, 5685.

This is consistent with the approach taken by courts outside of this district as well. See, e.g., Ex.

T, Amended Scheduling Order, Corrente v. Charles Schwab Corp., No. 4:22-cv-00470-ALM



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(E.D. Tex. Nov. 8, 2023), ECF No. 101; Ex. U, Scheduling Order, Hubbard v. NCAA, No. 4:23-

cv-01593 (N.D. Cal. Nov. 3, 2023), ECF No. 134; Ex. V, Stip. & Order Setting Case Man. Sch.,

So v. HP, Inc., No. 5:22-cv-02327-PCP (N.D. Cal. Oct. 19, 2023), ECF No. 66; Ex. W, Joint Stip.

& Order re: Discovery & Pre-Trial Deadlines, Wickham v. Schenker, Inc., No. 5:23-cv-00946-PCP

(N.D. Cal. Nov. 14, 2023), ECF No. 55; Ex. X, In re Pork Litig., No. 21-md-02998-JRT-HB, (D.

Minn. Jan 10, 2022), ECF No. 65; Ex. Y, Scheduling Order In re Polyurethane Foam Antitrust

Litig., No. 1:10-md-02196-JZ (N.D. Ohio April 24, 2014), ECF 1137; Ex. Z, Scheduling Order,

In re OSB Antitrust Litig., No. 2:06-cv-00826-TR, (E.D. Penn. May 25, 2006), ECF No. 78. This

year, multiple courts have adopted T-Mobile’s proposed approach, which undermines Plaintiffs’

depiction of it as “antiquated.” And, while some courts have adopted Plaintiffs’ approach, many

of those cases are distinguishable—as Plaintiffs concede—because it was “often with the

agreement of the defendants.” See e.g., Ex. A, Carbone v. Brown Univ., No. 22 cv-00125 (N.D.

Ill. Sept. 8, 2022), ECF No. 195; Ex. B, Uriel Pharm. Health & Welfare Plan v. Advocate Aurora

Health, Inc., No. 22-cv-610 (E.D. Wisc. Aug. 16, 2023), ECF No. 41. Moreover, the Minute Order

that Plaintiffs cite recognizes that where the case at the merits stage differs from the case at the

class certification stage, pre-class certification merits expert discovery will “go to waste.” See Ex.

N, Minute Order, Sky Fed. Credit Union v. Fair Isaac Corp., No. 20-cv-2114 (N.D. Ill. Oct. 17,

2023), ECF No. 180.

       Plaintiffs are wrong when they contend that the scope of the class certification analysis

substantially overlaps with the issues that will be addressed by the merits expert reports. There

are certain fundamental merits inquiries that are not at issue at the class certification stage—

including liability, causation, and damages. The composition of the class—and whether any class

is certified at all—will necessarily drive the scope of final expert reports on issues such as the



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existence and quantum of damages. That said, if Plaintiffs believe their expert report from class

certification covers everything they need for merits and damages, they are of course free to use the

same report and/or modify it based on the class certification ruling and/or other merits issues.

Further, T-Mobile’s proposal is not to “split” class and merits expert discovery as Plaintiffs

suggest. Instead, T-Mobile’s proposal is that class certification-related expert discovery is focused

on the parameters of Rule 23, and merits expert discovery is focused on the merits of the case

before the Court. And, contrary to Plaintiffs’ suggestion that T-Mobile’s approach would “add a

year or more to the schedule,” T-Mobile proposed a schedule that efficiently, timely and

appropriately completes merits expert disclosure and discovery in approximately seven months.7




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 Contrary to Plaintiffs’ assertion that briefing Daubert issues with merits expert discovery would extend the case
schedule, Daubert motions can be handled concurrently with dispositive motions or within the Court’s pre-trial
motion in limine schedule. Daubert motions would not necessarily add time to the schedule.

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Dated: January 30, 2024   /s/     Brendan P. Glackin
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                                CERTIFICATE OF SERVICE

       I, Rachel S. Brass, an attorney, hereby certify that this Joint Status Report was

electronically filed on January 30, 2024, and will be served electronically via the Court’s ECF

Notice system upon the registered parties of record.

                                               Respectfully submitted,

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